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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 04-60001-CR-COOKE/Brown (s)(s)(s)(s)(s)


   UNITED STATES OF AMERICA

   vs.

   ADHAM AMIN HASSOUN,
        a/k/a “Abu Sayyaf,”
   KIFAH WAEL JAYYOUSI,
        a/k/a “Abu Mohamed,” and
   JOSE PADILLA,
        a/k/a “Ibrahim,”
        a/k/a “Abu Abdullah the Puerto Rican,”
        a/k/a “Abu Abdullah Al Mujahir,”

                                  Defendants.
                                                           /

              GOVERNMENT’S RESPONSE TO DEFENDANT HASSOUN’S
         MOTION TO ADOPT CODEFENDANTS’ ARGUMENTS AND OBJECTIONS

          The United States of America hereby files this response to Defendant Adham Amin

   Hassoun’s motion to adopt his codefendants’ legal arguments and objections to their PSIs.

   Hassoun’s motion seeks to encompass claims that support his own arguments and objections or that

   would result in him receiving a lower guidelines sentence. But sentencing is a heavily fact-intensive

   exercise to be undertaken with an exclusive focus on the defendant being sentenced. See 18 U.S.C.

   § 3553(a)(1) (sentencing court must consider circumstances of offense and history and

   characteristics of defendant); United States v. Lindsey, 200 Fed. Appx. 902, 906 (11th Cir. 2006)

   (court must rely on individualized facts to impose proper sentence on each codefendant). Much like

   sufficiency arguments, any claims in support of a lower guidelines sentence must be pegged to

   specific facts about the defendant being sentenced or his offense conduct. And legal arguments

   cannot be adopted by a defendant without reference to his own specific facts and circumstances.
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   Cf. United States v. Cooper, 203 F.3d 1279, 1285 n.4 (11th Cir. 2000) (sufficiency claims are unique

   to each defendant and cannot be adopted). Hassoun makes no attempt to incorporate legal

   arguments and objections with reference to his own individualized circumstances, and until such

   time as he does, his motion should be denied without further hearing.

                                                Respectfully submitted,

                                                R. ALEXANDER ACOSTA
                                                UNITED STATES ATTORNEY


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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 26, 2007, the undersigned electronically filed the

   foregoing document, Government’s Response To Defendant Hassoun’s Motion To Adopt Co-

   Defendants’ Arguments and Objections, with the Clerk of the Court using CM/ECF



                                                s/ Brian K. Frazier
                                                Brian K. Frazier
                                                Assistant United States Attorney




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